Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 1 of 41 PageID #: 8120



                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

ACORDA THERAPEUTICS, INC., et al.     )
                                      )
                   Plaintiffs,        )
                                      )   C.A. No. 14-882 (LPS)
      v.                              )   (CONSOLIDATED)
                                      )
ROXANE LABORATORIES INC., et al.      )
                                      )
                   Defendants.        )



               PLAINTIFFS’ POST-TRIAL SUR-REPLY BRIEF ON
            SECONDARY CONSIDERATIONS OF NONOBVIOUSNESS



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Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 2 of 41 PageID #: 8121



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Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 3 of 41 PageID #: 8122



                                                   TABLE OF CONTENTS

                                                                                                                                        Page

INTRODUCTION .......................................................................................................................... 1

ARGUMENT .................................................................................................................................. 4

          I.         THE ASSERTED CLAIMS OF THE ACORDA PATENTS ARE NOT
                     PRESUMED OBVIOUS ........................................................................................ 4

          II.        SECONDARY CONSIDERATIONS SUPPORT THE
                     NONOBVIOUSNESS OF THE ASSERTED CLAIMS ........................................ 5

                     A.         The Surprising and Unexpected Results of the Claimed
                                Inventions of the Acorda Patents .................................................................5

                                1.         The prior art illustrates the unpredictability that pervades
                                           MS research and made it impossible to predict that the
                                           claimed 10 mg BID dosing regimen would be effective to
                                           safely improve walking. .................................................................. 6

                                2.         Schwid............................................................................................. 8

                                3.         The Goodman References ............................................................. 10

                                4.         The significance of Acorda’s MS-F202 study .............................. 16

                                5.         The Acorda Patents disclose that the results of the claimed
                                           dosing regimen were unexpected. ................................................. 20

                                6.         The unexpected results of the claimed dosing regimen were
                                           different in kind, not merely in degree, from what a POSA
                                           would have expected. .................................................................... 20

                     B.         Failures by Others Further Support the Nonobviousness of
                                the Acorda Patents .....................................................................................23

                     C.         The Long Felt Need for the Inventions of the Acorda
                                Patents Further Demonstrates They Were Not Obvious ............................27

                     D.         Ampyra Has Been a Commercial Success Because of the
                                Inventions of the Patents-in-Suit................................................................29

CONCLUSION ............................................................................................................................. 33




                                                                      i
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 4 of 41 PageID #: 8123



                                                  TABLE OF AUTHORITIES

                                                                                                                                        Page(s)

Cases

Allergan, Inc. v. Sandoz Inc.,
    726 F.3d 1286 (Fed. Cir. 2013)................................................................................................27

Allergan, Inc. v. Sandoz Inc.,
    796 F.3d 1293 (Fed. Cir. 2015)................................................................................................23

Cadence Pharm. Inc. v. Exela Pharmsci Inc.,
   780 F.3d 1364 (Fed. Cir. 2015)................................................................................................31

Eli Lilly & Co. v. Sicor Pharm., Inc.,
    705 F. Supp. 2d 971 (S.D. Ind. 2010), aff’d, 424 F. App’x 892 (Fed. Cir.
    2011) ........................................................................................................................................26

Eli Lilly and Co. v. Teva Pharm. USA, Inc.,
    No. IP 02-0512-C-B/S, 2004 WL 1724632 (S.D. Ind. July 29, 2004), aff’d
    2005 WL 163526 (Fed. Cir. July 13, 2005) .......................................................................29, 30

Ferring B.V. v. Watson Labs., Inc.-Fla.,
   764 F.3d 1401 (Fed. Cir. 2014)................................................................................................28

Forest Labs. Holdings Ltd. v. Mylan Inc.,
   No. CV 13-1602-SLR, 2016 WL 3677148 (D. Del. July 11, 2016) ..................................11, 12

Galderma Labs., L.P. v. Tolmar, Inc.,
   737 F.3d 731 (Fed. Cir. 2013)......................................................................................2, 4, 5, 10

Helsinn Healthcare S.A. v. Teva Pharm. USA, Inc.,
   No. Cv. 11-3962-(MLC), 2016 WL 832089 (D.N.J. Mar. 3, 2016) ........................................12

In re May,
    574 F.2d 1082 (C.C.P.A. 1978) .................................................................................................8

In re Piasecki,
    745 F.2d 1468 (Fed. Cir. 1984)................................................................................................24

Insite Vision Inc. v. Sandoz, Inc.,
    783 F.3d 853 (Fed. Cir. 2015)..................................................................................................24

Knoll Pharm. Co. v. Teva Pharms. USA, Inc.,
   367 F.3d 1381 (Fed. Cir. 2004)................................................................................................26

Merck Sharp & Dohme B.V. v. Warner Chilcott Co.,
   No. 13-2088-GMS, 2016 WL 4497054 (D. Del. Aug. 26, 2016) ............................................32


                                                                        ii
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 5 of 41 PageID #: 8124



Ortho-McNeil Pharm., Inc. v. Mylan Labs., Inc.,
   348 F. Supp. 2d 713 (N.D.W. Va. 2004) aff’d, 161 Fed. App’x 944 (Fed. Cir.
   2005) ........................................................................................................................................23

Sanofi-Synthelabo v. Apotex, Inc.,
   492 F. Supp. 2d 353 (S.D.N.Y. 2007), aff’d, 550 F.3d 1075 (Fed. Cir. 2008) ........................18

Sanofi-Synthelabo v. Apotex, Inc.,
   550 F.3d 1075 (Fed. Cir. 2008)............................................................................................6, 19

Symbol Techs., Inc. v. Opticon, Inc.,
   935 F.2d 1569 (Fed. Cir. 1991)................................................................................................24

Tyco Healthcare Grp. v. Mut. Pharm. Co.,
   642 F.3d 1370 (Fed Cir. 2011)...................................................................................................5

Vanda Pharm., Inc. v. Roxane Labs., Inc.,
   No. Cv 13-1973-GMS, 2016 WL 4490701 (D. Del. Aug. 25, 2016) ..................................8, 28

Statutes

21 U.S.C. § 356(b)(1) ....................................................................................................................28

Rules

Fed. R. Civ. P. 52(c) ........................................................................................................................1




                                                                       iii
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 6 of 41 PageID #: 8125



                                        INTRODUCTION

               Defendants have stitched together parts of prior art publications and snippets of

testimony in a meritless attempt to show – supposedly by clear and convincing evidence – that

the inventions claimed in the patents-in-suit would have been obvious to a POSA. Defendants’

hindsight rendering fails to come to grips with the totality of the prior art – the positives and the

negatives – which, taken together, would not have motivated a POSA as of 1991, with a

reasonable expectation of success, to develop a sustained release formulation of 4-AP to improve

nerve conduction in MS patients, and would not have motivated a POSA as of 2004, with a

reasonable expectation of success, to administer a stable 10 mg dose of sustained release 4-AP

twice-daily to improve walking in MS patients. 1 Moreover, a POSA would not reasonably have

expected that a 10 mg BID dose of 4-AP would be as effective as doses of 15 mg or 20 mg BID.

               Defendants’ reply papers do not dispute that POSAs were aware of the

unpredictability and variability of MS, of ongoing concerns that 4-AP could cause seizures in

MS patients, and of the significant placebo effect which confounded the interpretation of clinical

studies of drug candidates in MS patients. Nor do defendants rebut plaintiffs’ showing that the


1
       As this brief is a sur-reply limited to secondary considerations, plaintiffs address the ’938
       Patent only with respect to Ampyra’s commercial success further supporting the
       nonobviousness of the patent. The fact that plaintiffs are not otherwise responding to
       defendants’ arguments on reply with respect to the ’938 Patent, including the § 112
       arguments on which defendants presented zero evidence at trial, should not be taken as an
       admission of any kind. Plaintiffs note that, after the close of defendants’ case, plaintiffs
       moved for judgment on the § 112 defenses, pursuant to Fed. R. Civ. P. 52(c), on the
       grounds that defendants’ witnesses had avoided any § 112 issues and defendants had
       submitted no evidence on the subject at trial, notwithstanding that they had the burden of
       proof. Defendants were thus on notice regarding their lack of proof. (Tr. 272:12-21).
       The Court denied the motion without prejudice. (Tr. 273:5-7). Defendants chose not to
       raise the issue again until their rebuttal closing argument. Defendants should be
       foreclosed from pursuing this position now but, should the Court decide to consider the
       issue, plaintiffs respectfully request an opportunity to respond to defendants’ belated
       arguments.


                                                -1-
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 7 of 41 PageID #: 8126



Elan study was a failure – except to argue that the Elan study taught the art that 4-AP would not

benefit MS patients as measured by the widely accepted EDSS (which included a significant

walking component). Defendants also do not challenge plaintiffs’ showing that Schwid was a

tiny, 10-patient study designed, in the wake of Elan’s failure, to test endpoints for use in further

studies, that it employed a dose that was 75% higher than the dose in Ampyra, and found

statistically significant improvement as to timed gait only because it did not account for the fact

that timed gait was merely one of seven endpoints measured in the study, the rest of which

failed.

                Defendants’ reply papers likewise fail to refute plaintiffs’ showing that (1) the

safety of administering 4-AP to MS patients was a principal concern of the MS-F201 study that

was the subject of the Goodman References; (2) the study was designed “as a dose-ranging study

to assess safety and to explore potential outcome measures for use in later trials”; (3) the study

was an escalating dose study which did not involve stable dosing; (4) the Goodman References

reported statistically significant improvement only in the Lower Extremity Manual Muscle Test

(LEMMT) and in the (post-hoc) analysis of walking speed and then only when the results of all

doses from 20 mg to 80 mg daily were aggregated; and (5) the dose-response curve that appeared

in the Goodman Poster did not incorporate the results of the placebo group and did not reflect

statistically significant results.

                As reiterated below, defendants’ contention that this case is governed by

Galderma Labs., L.P. v. Tolmar, Inc., 737 F.3d 731 (Fed. Cir. 2013), does not square with the

facts. Unlike in Galderma, the inventions of the Acorda Patents were not limited to selecting a

dose amount nor did they involve a drug which had already been established as safe and effective

for treatment of any symptom of MS, in particular improved walking.




                                               -2-
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 8 of 41 PageID #: 8127



              Plaintiffs previously relied on evidence of secondary considerations in

prosecuting the patents-in-suit.   As set forth below, defendants’ efforts to rebut plaintiffs’

evidence at trial of secondary considerations of nonobviousness defy logic.

              The fact that the FDA approved Ampyra as the first and only drug for improving

walking in MS patients and the fact that patients use Ampyra persistently leaves no doubt that

Ampyra filled an unmet need even though it is not a panacea. The failures by Elan and Sanofi-

Aventis in developing MS treatments were unquestionably failures by others to address the same

need. And Acorda’s surprising finding that a 10 mg BID dose of 4-AP was as effective as higher

doses, that 4-AP could be administered safely, and that 4-AP could be administered from the

outset of the course of treatment in a steady dose without titrating upwards to find the proper

balance between safety and efficacy allowed a change in kind, not merely in degree, in the use of

4-AP.

              Furthermore, Ampyra is a commercial success that has fueled the growth of

Acorda and its ongoing CNS research. It is undisputed that Ampyra is the only drug approved

by the FDA to improve walking in MS patients, sales totaled $1.7 billion from launch in 2010

through 2015, and net income from those sales was $998.7 million. Sales of Ampyra in 2016

should approach $500 million. Ampyra is dosed twice daily in 10 mg sustained release tablets of

4-AP to improve walking in MS patients precisely as claimed in the patents-in-suit. Before the

claimed inventions, there was no FDA-approved 4-AP product. Hence, as Dr. Bell testified, the

commercial success of Ampyra can be attributed to the elements of the Asserted Claims in both

the ’938 Patent and the Acorda Patents. That is true notwithstanding that Dr. Bell did not

purport to undertake the impossible task of apportioning the success of Ampyra among 4-AP

itself, the ’938 Patent and the Acorda Patents. There would be no Ampyra without all three.




                                              -3-
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 9 of 41 PageID #: 8128



Moreover, defendants’ contention that Ampyra has not been a commercial success hinges on the

dubious personal theory of their expert Dr. McDuff, who considers essentially all but blockbuster

drugs ($1 billion or more in annual sales) to be unsuccessful. Dr. McDuff has yet to persuade a

court that his theory is sound.

                Finally, this Court should assess the trial testimony regarding the Acorda Patents

in light of the fact that Drs. Cohen and Goodman were there during the development of Ampyra,

were immersed in the art at the time, made real world decisions about the course of their research

in light of the art, and (in the case of Dr. Goodman) regularly treated MS patients, while the

experts hired by defendants had no first-hand knowledge of the facts or the art, admittedly do no

research, and (in the case of Dr. Peroutka) have not treated MS patients since 1990. Plaintiffs

submit that the credibility of Drs. Cohen and Goodman as to their thinking and the mindset of a

POSA in 2004 is buttressed by defendants’ complete inability to challenge their factual and

technical testimony and by the tortuous route that Acorda followed in inventing Ampyra (Defs.

Reply Br. at 47). 2

                The Court should conclude that defendants have failed to come forward with the

clear and convincing evidence of obviousness that would overcome the statutory presumption

that the patents-in-suit are valid.

                                          ARGUMENT

I.      THE ASSERTED CLAIMS OF THE ACORDA
        PATENTS ARE NOT PRESUMED OBVIOUS

                Defendants continue to insist that this case is “indistinguishable” from Galderma.

(Defs. Reply Br. at 23). However, to make that argument they have to ignore the multifaceted

nature of the Asserted Claims, which are directed not only to the choice of the 10 mg BID dose

2
        Citations to “Defs. Reply Br.” refer to Defendants’ Post-Trial Reply Brief.


                                               -4-
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 10 of 41 PageID #: 8129



amount, but also to (1) a stated purpose for administering 4-AP, i.e., targeting a selected

symptom of MS from among the many symptoms previously studied; (2) an extended period of

administration (at least two weeks); (3) the requirement that the dose amount be held constant

(i.e., not titrated) during that period or, in the case of claims 6 and 7 of the ’826 Patent, that the

dose never be titrated; and (4) that certain pharmacokinetic parameters be achieved. Struggling

to analogize this case to Galderma, defendants also disregard the fact that, unlike the invention at

issue in Galderma (and the invention at issue in Tyco Healthcare Grp. v. Mut. Pharm. Co., 642

F.3d 1370 (Fed Cir. 2011)), the inventions claimed in the Acorda Patents did not simply improve

upon an already existing FDA-approved, demonstrably safe and effective treatment. Rather, the

inventions at issue here made possible a treatment that had never before been approved by the

FDA. The burden shifting paradigm urged by defendants is therefore not warranted in this case.

In any event, plaintiffs have come forward with evidence of secondary considerations sufficient

to demonstrate the nonobviousness of the invention.

II.    SECONDARY CONSIDERATIONS SUPPORT THE
       NONOBVIOUSNESS OF THE ASSERTED CLAIMS

       A.      The Surprising and Unexpected Results of the
               Claimed Inventions of the Acorda Patents

               As detailed in plaintiffs’ Answering Brief, 3 the prior art relied on by defendants

would not have afforded a POSA a reasonable expectation that a stable dose of 10 mg BID

would be both safe and effective to improve walking in MS patients, and certainly would not

have supported an expectation that the 10 mg BID dose would be as effective as higher doses

that are associated with an increased risk of serious adverse events. The evidence presented by

plaintiffs regarding the unpredictability of the art and the lack of a reasonable expectation that

3
       Reference is to Plaintiffs’ Post-Trial Answering Brief on Validity and Opening Brief on
       Secondary Considerations of Nonobviousness (Pls. Br.).


                                                -5-
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 11 of 41 PageID #: 8130



the claimed 10 mg BID regimen would yield the positive results discovered by the inventors and

reported in the Acorda Patents demonstrates the nonobviousness of the Asserted Claims, even

assuming, arguendo, that defendants had made a prima facie case of obviousness. See Sanofi-

Synthelabo v. Apotex, Inc., 550 F.3d 1075, 1085-90 (Fed. Cir. 2008) (affirming the district

court’s holding that assumed case of obviousness was rebutted by totality of findings that, in

light of prior art, a POSA would not reasonably have expected that the separation of enantiomers

would likely produce an isomer that had both favorable activity and tolerability).

               1.     The prior art illustrates the unpredictability that pervades MS
                      research and made it impossible to predict that the claimed 10 mg
                      BID dosing regimen would be effective to safely improve walking.

               Defendants’ hindsight characterization of the art as “a consistent march . . .

towards using 4-AP to improve walking in MS patients” (Defs. Reply Br. at 31) flies in the face

of the evidence presented at trial. Both the prior art references relied on by defendants and

Acorda’s own work demonstrates that the art explored many potential endpoints and yielded

inconsistent results. None of the art, viewed alone or in combination, supported an expectation

that the 10 mg BID dosing regimen of the Acorda patent claims would improve walking or

increase walking speed.

               Stefoski I did not evaluate walking speed or improvement in walking at all and,

while it reported improvement in various tests, a POSA reading Stefoski I would not have drawn

any meaningful inferences about symptomatic improvement in MS patients from the reported

results. (PF ¶ 102). 4 Davis also involved an array of tests, and, while it reported improved

“motor function,” that measure encompassed movement of arms and legs and included “both

simple function tests and the performance of complex motor tasks such as gait and repetitive


4
       Citations to “PF” refer to the Plaintiffs’ Proposed Findings of Fact, D.I. 262.


                                               -6-
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 12 of 41 PageID #: 8131



movements.” (JTX-0043 at 188; PF ¶ 103). Stefoski II similarly tested multiple endpoints,

including a variety of motor functions, none of which included walking speed, and would not

have been understood by a POSA as supporting a conclusion regarding the safety or efficacy of

prolonged administration of 4-AP to MS patients for treatment of any symptom. (PF ¶ 104).

Moreover, the Stefoski and Davis studies were criticized by contemporaneous literature as

“limited by questions about blinding, failure to randomize treatment, and failure to either use

prospectively defined neurological deficits or adjust significance levels to compensate for

multiple comparisons.” (JTX-0028 (Bever III) at 1058; PF ¶ 106).

               Polman I, cited by defendants as showing that 4-AP “improves ambulation long-

term” (Defs. Reply Br. at 31), itself pointed out that while “[i]mprovements in fatigue and

ambulation were mentioned quite often by the patients as being responsible for the favorable

overall effect (Table 1),” “[i]t is important to emphasize the fact that only a small minority of the

favorable effects reported by the patients resulted in significant changes in the EDSS” (an

important component of which is an assessment of walking). (JTX-0095 at 295; PF ¶ 108).

Thus, Polman I itself reported inconsistent results on walking, and, in any event, did not allow a

POSA to reasonably infer that 4-AP improves ambulation in MS patients because of its

unblinded design.    (PF ¶ 108).      The eight-patient Bever III study also explored multiple

endpoints and reported inconsistent results. (PF ¶ 109). Defendants rely on its showing of

improved lower extremity strength. (Defs. Reply Br. at 31). But defendants ignore the fact that

Bever III reported no benefit in the EDSS or in the Ambulation Index, which specifically

assesses walking speed. (PF ¶ 109).

               None of these references support defendants’ description of the art as leading

toward the use of 4-AP at any dose to improve walking. On the contrary, they illustrate the




                                                -7-
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 13 of 41 PageID #: 8132



meandering and unpredictable course of the research seeking to use 4-AP to treat any symptom

of MS and thus support the nonobviousness of the Asserted Claims. See In re May, 574 F.2d

1082, 1094 (C.C.P.A. 1978) (a patentee may rebut a prima facie case of obviousness by

“producing sufficient evidence which demonstrates a substantial degree of unpredictability in the

pertinent art area”); Vanda Pharm., Inc. v. Roxane Labs., Inc., No. Cv 13-1973-GMS, 2016 WL

4490701, at *9 (D. Del. Aug. 25, 2016) (“the level of clinical testing required and inherent

unpredictability in the field [treating schizophrenia] make certain that the invention was not

obvious.”).

              Defendants cite Schwid and the Goodman References as completing the purported

“march.” (Defs. Reply Br. at 31). However, those references, discussed below, also explored a

multiplicity of endpoints and do not support an expectation that the dosing regimen claimed by

the Acorda Patents would safely and efficaciously improve walking or increase walking speed.

              2.      Schwid

              Defendants contend that Schwid taught that a stable dose of 17.5 mg of sustained

release 4-AP, taken BID, improved walking speed in MS patients. (Defs. Reply Br. at 4). As

detailed in plaintiffs’ Answering Brief, however, a POSA would not have viewed Schwid (alone

or in combination with other prior art) as providing a reasonable expectation that any dose of

sustained release 4-AP would safely and effectively improve walking or increase walking speed

in accordance with the claims of the Acorda Patents. A POSA would have recognized that the

Schwid study was not an efficacy study. (PF ¶¶ 113-114, 116, 132, 137, 139-141). And, to the

extent that Schwid provided any guidance about dose, it employed a dose that was 75% higher

than the 10 mg BID dose of the Asserted Claims and suggested targeting serum levels of at least

60 nanograms per ml which, as Dr. Peroutka conceded, the prior art taught would require a dose

higher than 25 mg BID. (PF ¶¶ 113, 115, 144).


                                              -8-
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 14 of 41 PageID #: 8133



               Defendants apparently misconstrue plaintiffs’ argument as to why a POSA would

discount Schwid’s finding that timed gait improved after administration of 17.5 mg of 4-AP BID.

(Defs. Reply Br. at 24 (citing Pls. Br. at 61)). Plaintiffs do not contend “that a POSA would have

not have given Schwid’s conclusions weight because Schwid also showed ‘six failed measures.’”

(Defs. Reply Br. at 24 (quoting Pls. Br. at 61)). Rather, plaintiffs argue that a POSA would have

interpreted the results reported in Schwid in view of the fact that the underlying 10-patient study

tested seven different outcome measures, yet the statistical significance of the lone positive result

with respect to one of the seven measures was not adjusted to reflect that multiple endpoints

were tested. (Pls. Br. at 60-61). Simply put, as the number of outcome measures increases, so

too does the possibility that one will reflect a positive result as a matter of happenstance. As

Dr. Goodman explained (and defendants do not dispute), a statistical correction would be

necessary to potentially draw efficacy conclusions from the study. (PF ¶ 114).

               Defendants misrepresent that “Plaintiffs do not dispute that Solari reports that

Schwid showed statistically significant improvement in ‘ambulation’ with 4-AP.” (Defs. Reply

Br. at 25 (citing Pls. Br at 61)). In fact, plaintiffs’ Answering Brief clearly called out as an

incorrect “misrepresentation” defendants’ contention that the Solari Review reported that Schwid

reported statistically significant improvement in ambulation. (Pls. Br. at 61-62). As plaintiffs

previously explained, most of the patients included in Solari’s calculation of statistical

significance participated in a study that was done with 3,4 diaminopyridine – not 4-AP. (See id.

at 49-50, 61-62). Defendants are therefore wrong in asserting that Solari “further points a POSA

to using 4-AP to improve walking (ambulation).” (Defs. Reply Br. at 25). 5



5
       Defendants also misrepresent Solari’s “overall conclusion” as being “about whether the
       then-current research on 4-AP and DAP . . . viewed collectively, allow an unbiased
       statement about safety or efficacy of aminopyridines for treating all of the MS symptoms

                                                -9-
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 15 of 41 PageID #: 8134



              3.      The Goodman References

              In their effort to shoehorn the facts of this case to fit Galderma, defendants

mischaracterize the Goodman References as teaching that every dose within the range of 20-40

mg/day (i.e., 10-20 mg BID) is safe and effective to improve walking in MS patients. As

explained in plaintiffs’ Answering Brief, the Goodman References (alone or in combination with

other prior art ) would not have provided a POSA with a reasonable expectation of success that

any dose of sustained release 4-AP would safely and effectively improve walking or increase

walking speed in accordance with the claims of the Acorda Patents. (See Pls. Br. at 63-71). A

POSA would have recognized from the study’s objectives and design, as reported in the

Goodman References, that the MS-F201 study underlying the Goodman References was a small,

methodologic exploratory study, not designed to establish the efficacy of sustained release 4-AP,

much less to select an individual, stable dose. (PF ¶¶ 118, 121, 124-125; Tr., Goodman, 544:25-

545:1). The Goodman Poster disclosed that multiple endpoints were measured. (PF ¶ 125). A

POSA would also have understood that (as in Schwid) the statistical significance values reported

in the Goodman References with respect to particular outcome measures were not adjusted to

account for the study’s use of multiple outcomes. (PF ¶¶ 122, 125, 139).


       considered, which include motor function, eye movements, EDSS, visual function,
       cognitive function, and fatigue . . .” (Defs. Reply Br. at 35). In fact, Solari’s overall
       conclusion was that “[c]urrently available information allows no unbiased statement
       about safety or efficacy of aminopyridines for treating MS symptoms” period. (PTX-
       0416 at 1) Plainly, that conclusion expressed uncertainty with respect to the ability of
       aminopyridines to treat any MS symptoms. As Solari explained: “Potassium blocking
       drugs [4-AP and 3,4-DAP] may be able to improve nerve function in nerves without
       enough myelin. However, the review of trials found there is not enough evidence about
       the safety of these drugs or whether benefits are certain.” (Id. at 15). Contrary to
       defendants’ argument, Solari’s assessment does not exclude ambulation and motor
       strength.




                                             - 10 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 16 of 41 PageID #: 8135



               Defendants err (Defs. Reply Br. 32) in asserting that plaintiffs “offer only attorney

argument” to support their position that a POSA would not have had a reasonable expectation of

success that 4-AP would treat a symptom of MS absent a “randomized, placebo-controlled

clinical study properly designed to assess efficacy.” In fact, Dr. Goodman testified that a POSA

would not have had a reasonable expectation of success because the prior art contained “small

exploratory and/or methodologic studies not adequately designed to show efficacy.”             (Tr.,

Goodman, 495:11-496:1). 6 Dr. Goodman further stated that a POSA “fully aware of . . . the

variability in MS patients, the . . . propensity for placebo effect, and fully aware of the need to

have for those reasons, among others, . . . a more rigorous approach to assessing efficacy,” would

realize that “randomized and controlled . . . versus placebo” trials would be “just the sort of

standards one would need in order to make meaningful inferences about efficacy or safety.” (Tr.,

Goodman, 489:9-490:2).         Furthermore, in describing “the art of doing clinical trials,”

Dr. Goodman explained that a POSA “who is analytic . . . realizes” that a positive signal of effect

is “not enough to go on until you do further testing to actually see whether or not what you

thought was a signal is in fact a real signal . . . that there’s a real pharmacologic effect.” (Tr.,

Goodman, 563:12-564:13). Thus, plaintiffs are, in fact, relying on expert testimony as to what

information would afford a POSA a reasonable expectation of success. 7 See Forest Labs.

Holdings Ltd. v. Mylan Inc., No. CV 13-1602-SLR, 2016 WL 3677148, at *24 (D. Del. July 11,

2016) (holding, in the context of obviousness, that references discussing the results of “small,

open-label, non-placebo controlled trials” are generally ineffective at establishing a reasonable

6
       Citations to “Tr.” refer to the trial transcript in this case.
7
       Defendants argue that the standard articulated by Dr. Goodman is “akin to the standard
       for FDA approval.” (Defs. Reply Br. 32). However, defendants say nothing about what
       that standard is. In any event, what the FDA standard may be is wholly beside the point
       here.


                                                 - 11 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 17 of 41 PageID #: 8136



expectation of success because they “would not be accepted by persons of ordinary skill in the

art as establishing the efficacy of a drug for the treatment of [a particular condition] for many

reasons, including the introduction of patient and doctor bias, false positives due to a placebo

response, and lack of sufficient patients.”) 8; see also Helsinn Healthcare S.A. v. Teva Pharm.

USA, Inc., No. Cv. 11-3962-(MLC), 2016 WL 832089, at *60, *64 (D.N.J. Mar. 3, 2016) (Phase

II data which expert described as “an exploratory dose-ranging study . . . to evaluate the safety

[of graded doses] and to identify a possible signal of benefit” was found by the court to “have

been wholly insufficient at that time to support any valid scientific knowledge of efficacy as

claimed”).

               Defendants continue to deceptively conflate the Goodman References’ report of a

“dose response in the 20-40 mg/day range” (shown in a graph) and the report in the Goodman

Poster of a “[s]ignificant benefit on timed walking.” (Defs. Reply Br. at 4). Defendants imply

that the finding of a “significant benefit on timed walking” relates to the “dose response”

observed in the 20-40 mg/day range. In fact, as described in plaintiffs’ Answering Brief and as

explained further below, the Goodman References’ report of “significant benefit on timed

walking” was independent of the Goodman References’ report of a “dose response in the 20-40

mg/day range.” (Pls. Br. at 70)

               A POSA would have appreciated that the statistically “significant benefit” versus

placebo reported in the Goodman References refers to the performance, as measured by walking
8
       Defendants seek to distinguish Forest Labs. because the study at issue there was for a
       different drug (venlafaxine) with a different pharmacology than the claimed drug
       (milnacipran). (Defs. Reply Br. at 31-32). The court, however, expressly found, based
       on expert testimony, that “[a]side from the fact that venlafaxine and milnacipran are
       pharmacologically different,” POSAs would not accept “small, open-label, non-placebo
       controlled trials . . . as establishing efficacy of a drug for treatment of fibromyalgia . . . .”
       Forest Labs., 2016 WL 3677148, at *24 (emphasis added). The case is therefore directly
       analogous in view of Dr. Goodman’s testimony.


                                                - 12 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 18 of 41 PageID #: 8137



speed, of the 4-AP-treated patients over the entire seven week treatment period of the study.

(PF ¶¶ 120, 127).        The patients each received the entire dose range of 20-80 mg/day,

administered pursuant to an escalating dosing regimen that increased by 10 mg/day each week.

(PF ¶ 120). Thus, the only “significant benefit” reported in the Poster was based on aggregated

measurements obtained over the entire course of the study during which patients received all of

the tested doses, ranging from 20-80 mg daily (10-40 mg BID). (PF ¶ 127). The patients who

received all seven escalating doses of 4-AP showed statistically significant improvement over the

patients that received placebo during the seven week study. The Goodman References provided

no dose-specific information about the performance of sustained release 4-AP versus placebo.

(Id.) Consequently, the References provided no statistically significant data on the effect of any

particular dose amount. (Id).

               The reported “dose response in the 20-40 mg/day range” on the other hand,

simply reflects how the patients performed, as measured by timed walk, on individual escalating

weekly doses of 4-AP, not versus the results of the placebo group. (JTX-0080A at Conclusions;

PF ¶ 129). Specifically, the reported “[e]vidence of dose-response in the 20-40 mg/day range”

refers to the finding (depicted in the dose response curve in the Goodman Poster) that within the

range of 20-40 mg/day, higher doses appeared to respond better than lower doses. (JTX-0080A

at Conclusions, Results; PF ¶ 129). The dose-response results were not shown to be statistically

significant relative to the placebo group. (PF ¶¶ 123, 127-129). Thus, if anything, the Goodman

References, like the rest of the prior art, taught to escalate to higher doses in an effort to

maximize the effect. 9



9
       A POSA would have been aware of the prominent placebo effect seen in other MS trials
       of 4-AP and even in the very study underlying the Goodman References, which reported
       that placebo performed better than drug treatment on fatigue and showed that the walking

                                              - 13 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 19 of 41 PageID #: 8138



               Defendants rely on the “dose response” reported in the Goodman References −

which was not reported relative to placebo group data and was not reported as statistically

significant − to support not only their erroneous contention that Goodman showed improvement

at the 10 mg BID dose, but also to argue that Goodman showed that “all the other doses were in

the same basic range.” (Defs. Reply Br. at 25 (quoting Tr., Peroutka, 694:1-9)). But they simply

ignore the statement in each of the three Goodman References that “[d]ose response curves

showed increasing benefit in both [timed 25 walking speed and manual muscle testing] in the 20-

50 mg/day range.” (JTX-0062 at S117; JTX-0061 at A167; JTX-0080A at Abstract (emphasis

added); PF ¶¶ 123-124, 129). That increasing dose response is depicted in the dose response

curve in the Goodman Poster, which, as Dr. Peroutka conceded, reflects a bigger improvement at

40 mg/day compared to 20 mg/day. (Tr., Peroutka, 136:24-137:7; PF ¶ 129).

               Defendants attempt to buttress their argument that the Goodman References

would support an expectation that all doses in the 20 to 50 mg/day range would be equally

effective with Dr. Goodman’s testimony at trial that the dose response curve referenced in

Goodman I “did not detect any significant differences among doses within the range of 20-50

mg/day.”    (Defs. Reply Br. at 47-48).      However, Dr. Goodman’s testimony immediately

following the “admission” relied on by defendants, contradicts their position. Dr. Goodman

stated that the reason a POSA could not infer from the dose response curve that any one dose

would be more effective than any other dose was because “[o]ne can’t get much efficacy

inference” at all, about any dose, from the underlying methodological study. (Tr., Goodman,

533:12-534:1). “But, to the extent one tries to eke out some efficacy inference,” Dr. Goodman

explained, “the implication of the dose response across a range is in this case that the higher end

       speed of “a number of people . . . got better on placebo.” (Tr., Goodman, 483:23-484:1;
       PF ¶¶ 130, 132).


                                              - 14 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 20 of 41 PageID #: 8139



of the range gets more efficacy than the lower end of the range as much as one can infer efficacy,

one relative to the other, but not in comparison to placebo which one would want in an efficacy

study.” (Id.; see also Tr., Goodman, 534:7-16 (“I would say that the higher doses . . . up to 40 or

50 depending on how you would read the curve . . . without placebo control, was showing a . . .

shorter walking time.”).

               Thus, Dr. Goodman’s testimony shows that, to the extent the “increasing dose

response” reported in the Goodman References teaches anything about the efficacy of individual

doses, the teaching is consistent with other prior art reports in, for example, Schwid and Van

Diemen II (PTX-0330), that “higher dosages and serum levels are likely to produce greater

improvement in those MS patients who are capable of favorably responding to 4-AP.” (PTX-

0330 at 203; PF ¶ 107). Accordingly, the Goodman References do not, as defendants posit

(Defs. Reply Br.at 47), “contradict[]” the testimony of Dr. Goodman and Dr. Cohen that they

were surprised to see no meaningful difference between doses of 10, 15, and 20 mg BID.

               Contrary to defendants’ contention (see Defs. Reply Br. at 33), the prior art’s

suggestion to test as high a dose as possible short of precipitating adverse effects is not at all

inconsistent with the prior art’s recognition of the risk that 4-AP would cause serious side effects

(including seizures) in MS patients. Given that walking impairment is a continuum, not a yes/no

type of outcome, it is important to provide maximum benefit so that patients achieve a state that

is as close to normal as possible. (PF ¶ 135). Recognizing this objective as well as the need to

avoid intolerable adverse effects, the prior art used individualized titration schemes designed to

start low and increase doses gradually in an effort to reach a dose that would provide maximum

benefit without dangerous side effects. (PF ¶¶ 101, 107-110, 142-144). Plainly, Dr. Peroutka’s




                                               - 15 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 21 of 41 PageID #: 8140



assertion that a POSA would simply seek the lowest effective dose without attempting to

maximize efficacy would not make sense in treating MS patients to improve walking.

               Defendants are also disingenuous in arguing that the Goodman References do not

distinguish the efficacy of individual doses. (Defs. Reply Br. at 47-48). For that purpose,

defendants embrace Dr. Goodman’s testimony that “one can’t get much efficacy inference” from

the dose response information provided in the Goodman References. Yet, defendants disregard

the very same statement by Dr. Goodman in asserting that the Goodman References show the

efficacy of the entire 20-40 mg/day range. (Defs. Reply Br. at 4, 5, 25, 28).

               Thus, reading the Goodman References as Dr. Goodman testified a POSA would,

the references do not contradict his testimony that he “actually didn’t believe the 10 milligrams

would be an effective dose.” (Tr., Goodman, 515:6-25). The Goodman Reference also are not

inconsistent with the testimony of Drs. Cohen and Goodman that they were surprised to find no

meaningful difference among doses of 10, 15, and 20 mg BID. Defendants’ impugning the

testimony by Drs. Goodman and Cohen as being not credible and “litigation-inspired” (Defs.

Reply Br. at 47) is wholly unjustified.

               4.      The significance of Acorda’s MS-F202 study

               The historical course of Acorda’s research following the MS-F201 study that was

the subject of the Goodman References reinforces the testimony by Drs. Goodman and Cohen

regarding their surprise that the 10 mg BID dose proved as efficacious as the 15 and 20 mg BID

doses and reflects the unpredictability of the work in this area. Employing the post-hoc walking

speed analysis which, in the MS-F201 study, had shown significant improvement in the

aggregated results of the escalating dosing scheme of 10 to 40 mg BID (20-80 mg/day).

Acorda’s next study, MS-F202, failed to show statistically significant improvement in any of the

three doses tested (10 mg, 15 mg, and 20 mg BID). (PF ¶ 93). As reported in the Acorda


                                              - 16 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 22 of 41 PageID #: 8141



Patents, the Acorda inventors devised an innovative post hoc “responder analysis” which

revealed a statistically significant improvement in walking speed in a subset of the patients

studied. (PF ¶ 94).

               Defendants misrepresent that “Plaintiffs admit they expected to find statistically

significant improvements in [the MS-F202] study, but it purportedly ‘failed’ because they were

measuring the wrong outcomes.” (Defs. Reply Br. at 47 (citing Tr., Cohen, 298:8-299:3; Tr.,

Goodman, 515:8-25)). The testimony that defendants cite to support this alleged “admission” in

no way suggests any prior expectation of finding statistically significant results. The cited

testimony of Dr. Cohen, for example, merely confirms that the inventors applied a responder

analysis and were “extremely surprised” to find that “10 was as good as 15 or 20.” (Tr., Cohen,

298:8-299:3). Likewise, Dr. Goodman’s cited testimony explains his surprise at the findings of

the responder analysis:

               So the 10 milligram twice daily sustained release as the, in essence,
               preferred dosage, was surprising given the prior art suggesting a need to
               go to higher, higher doses and higher blood levels. And Ron Cohen talked
               yesterday about, about the responder analysis that was developed after
               what he called, was called the 202 study, that in essence failed in its
               primary endpoint. But then the responder analysis filtered the noise, is one
               way to think about it, or through a particular lens of the math, basically . . .
               it clarified what the . . . apparent failure was about. And that was . . . that
               was that there was a subgroup of people who met the criteria for responder
               analysis and hugely surprising was that the proportion of people who met
               that response analysis threshold was equivalent in the 10 milligram, 15
               milligram and 20 milligram dose. And I particularly remember being very
               surprised by that, because I actually didn’t believe the 10 milligrams
               would be an effective dose.

(Tr., Goodman, 515:6-25). The referenced testimony thus does not “admit” that the MS-F202

study was expected to yield statistically significant improvement, particularly at the 10 mg dose.

The testimony directly contradicts defendants’ contention that the results of the MS-F202

reported in the Acorda Patents were not surprising and unexpected.



                                                - 17 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 23 of 41 PageID #: 8142



               Defendants’ position is at odds with their assertion that the need for the responder

analysis shows that “it was Acorda’s poor judgment that resulted in ‘unexpected results,’ not the

allegedly novel features of the patent.”     (Defs. Reply Br. at 47).     Apparently, defendants

maintain, on the one hand, that the Goodman References (regarding a study expertly designed by

the Acorda team) would lead a person of skill to test, with a reasonable expectation of success,

each dose within the range of 20-40 mg/day, but contend, on the other hand, that Acorda’s failed

test of three selected doses from within that range, using the same analysis that yielded the

positive results reported in the Goodman References, was the result of “poor judgment.”

               Also unavailing is defendants’ argument that Acorda’s internal MS-F202 study

analysis does not constitute relevant evidence of unexpected results, as a matter of law, because

the study was not available to a POSA before the 2004 priority date and therefore sheds no light

on what a POSA would have expected at the time. Plaintiffs are not relying on Acorda’s internal

testing (including but not limited to the MS-F202 study) as information of which a POSA would

be aware. Acorda’s testing is simply another illustration of the extreme unpredictability of the

field of which a POSA would have been aware based on the art.

               The decision in Sanofi-Synthelabo v. Apotex, Inc., 492 F. Supp. 2d 353 (S.D.N.Y.

2007), aff’d, 550 F.3d 1075 (Fed. Cir. 2008), which defendants cite, actually demonstrates the

relevance of internal testing to the obviousness analysis. There, the court assumed that defendant

Apotex had made a prima facie case of obviousness of the claimed enantiomer. Consequently,

the court “proceed[ed] directly to whether the specific properties exhibited by [the claimed

compound] – the invention as a whole – would have been unexpected to a person of skill in the

art.” Id. at 390. In conducting its analysis, the court found that “[e]vidence of . . . Sanofi’s

research prior to securing the [patent-in-suit] also weigh[ed] in favor of the conclusion that




                                              - 18 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 24 of 41 PageID #: 8143



separating the enantiomers of PCR 4099 would not have been obvious to a person of ordinary

skill in the art at the relevant time.” Id. The court pointed out:

               Sanofi spent four years and “tens of millions” developing and extensively
               testing the racemate PCR 4099 before deciding to try separating the
               enantiomers of the racemic mixture. . . . The superiority of [the claimed
               enantiomer] to PCR 4099 – which was only confirmed later – was clearly
               not obvious to the chemists at Sanofi. Apotex has not made a persuasive
               case to provide an explanation as to why the skilled chemists at Sanofi,
               furthermore, would have acted – as Apotex contends – so contrary to the
               hypothetical person of ordinary skill in the art.

Id. at 390-91 (internal citations omitted). Based, inter alia, on its findings regarding the course

of Sanofi’s own research, the court concluded that Sanofi had “effectively rebutted a prima facie

case of obviousness by demonstrating that the [claimed enantiomer] – as a whole – possesses

unexpected properties that could not have reasonably been viewed as a likely outcome of

preparing the invention,” even if “obvious to try.” Id. at 392.

               The Federal Circuit’s affirmance of the district court’s decision specifically noted

the district court’s reliance on evidence regarding the Sanofi research team’s belief that

separation of enantiomers was unlikely to be productive, the fact that Sanofi’s success came only

after several failures, and Sanofi’s expenditure of tens of millions of dollars for several years of

development of the racemate before separating the enantiomers, as evidence weighing against

obviousness. Sanofi-Synthelabo, 550 F.3d at 1087-88. The Federal Circuit stated that the district

court’s extensive findings concerning the difficulty and unpredictability of the separation of the

enantiomers “undermine[d] Apotex’s argument . . . that the separation of the enantiomers would

have been obvious,” and that “[o]nly with hindsight knowledge that the [claimed] enantiomer has

highly desirable properties, can Apotex argue that it would have been obvious to select this

particular racemate and undertake its arduous separation.” Id. at 1088. The court admonished:

“The application of hindsight is inappropriate where the prior art does not suggest that [the



                                                - 19 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 25 of 41 PageID #: 8144



claimed enantiomer] could reasonably be expected to manifest the properties and advantages that

were found” for the claimed enantiomer. Id. Similarly, here, the researchers saw no obvious

path forward.        The fact that Acorda took a leap of faith and persevered in the face of

discouraging results cannot transform the prior art into a roadmap to obvious success.

                5.       The Acorda Patents disclose that the results of
                         the claimed dosing regimen were unexpected.

                Defendants’ effort to malign the testimony by Drs. Goodman and Cohen

regarding their surprise that the 10 mg BID dose was as efficacious as the higher, more

dangerous 15 mg and 20 mg BID doses, disregards the fact that the Acorda Patents themselves

report the unexpected nature of the finding that the 10 mg dose was as effective as higher doses:

“The data does not appear to support either a number of anecdotal reports or expectations from

preclinical pharmacology that doses higher than about 10 to 15 mg b.i.d. and even about 10 mg

b.i.d. should be associated with greater efficacy.” (JTX-0003 (’437 Patent) at 27:1-5; JTX-0004

(’703 Patent) at 28:66-29:3). As noted above, prior reports, as in Schwid and Van Diemen II

(PTX-0330), would have led to an expectation that “higher dosages and serum levels are likely to

produce greater improvement in those MS patients who are capable of favorably responding to 4-

AP.” (PTX-0330 at 203; PF ¶107).

                6.       The unexpected results of the claimed dosing
                         regimen were different in kind, not merely in
                         degree, from what a POSA would have expected.

                The revelation that the 10 mg BID dose of sustained release 4-AP was as

efficacious as the 15 mg and 20 mg BID doses, while at the same time avoiding the higher

incidence of serious adverse effects observed at the higher doses, was momentous. It allowed a

departure from the prior art’s standard method of using individualized titration schemes,

designed to start low and only gradually increase the dose so as to balance the concern about



                                               - 20 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 26 of 41 PageID #: 8145



intolerable adverse effects against the desire to achieve maximum therapeutic benefit.

Dr. Goodman explained:

               [W]hat’s important for these people with MS, they need to get the
               maximum amount of benefit. It’s not a yes or a no. It’s a gradation and we
               want to try to [eke] out as much benefit for each patient as possible. And
               what was surprising [was] . . . that that could be done with a single dose
               without having to do what was described . . . in the prior art of titrating or
               individualizing or maximizing doses in order to gain efficacy with the
               peril of coming close to the toxic range. Here we have a sweet spot at 10
               milligrams with no or minimal at least serious adverse events but still
               having equivalent efficacy compared to these other doses. So this was an
               unexpected, surprising and happy discovery.

(Tr., Goodman, 520:5-521:3). The new dosing regimen of the Asserted Claims of the Acorda

Patents was different in kind, not in degree, from how 4-AP had been used in the prior art.

               Defendants rely on the ’938 Patent in arguing that “the fact that titration was

unnecessary was . . . not unexpected.” (Defs. Reply Br. at 48). Defendants quote selectively

from the passage in the ’938 Patent addressing dosing, which reads (italicized text omitted by

defendants):

               In one embodiment, the medicament is administered to a subject at a dose
               and for a period sufficient to allow said subject to tolerate said dose
               without showing any adverse effects and thereafter increasing the dose of
               active agent at selected intervals of time until a therapeutic dose is
               achieved.

               In this embodiment of the invention at the commencement of treatment the
               active agent is preferably administered at a dose less than 15 mg/day until
               a tolerable state is reached. Suitably when said tolerable state is reached,
               the dose administered is increased by amounts of at least 5-15 mg/day
               until said therapeutic dose is reached.

(JTX-0001, 13:65-14:9). Ignoring the first paragraph and replacing the patent’s statement that

“the dose administered is increased” with their own words − “the dose can then be increased” −

defendants suggest that this passage does not require an increase in dose and “would therefore

include a dosing regimen in which a therapeutically effective dose is administered at the outset,



                                               - 21 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 27 of 41 PageID #: 8146



and thus no titration would be required.” (Defs. Reply Br. at 48). In fact, the ’938 Patent clearly

contemplates an increase in dose after a tolerable dose is reached. Drs. Lublin and Goodman

both testified that the ’938 Patent taught only an individualized titration regimen. (Tr., Lublin,

409:25-410:17; Tr., Goodman, 462:19-463:10; PF ¶ 143).

               Defendants erroneously argue that plaintiffs’ experts “testified that the Elan patent

claims are not limited to a dose titration regimen.” (Defs. Reply Br. at 48).           In support,

defendants cite no testimony by Dr. Goodman and cite testimony by Dr. Lublin that merely

confirms that independent claim 1 of the ’938 Patent is “silent as to dose titration,” that

dependent claim 5 requires titration, and that asserted claims 3 and 8 do not depend from claim

5.   (Tr., Lublin, 415:16-416:10).    However, that testimony by Dr. Lublin (a non-lawyer)

regarding the legal scope and dependencies of various claims, does not change the ’938 Patent

specification’s sole teaching regarding dosing, which is directed to an individualized titration

scheme – not the stable dosing regimen of the Acorda Patent claims.

               Defendants try to minimize the importance of the Acorda Patent claim limitations

requiring no titration for specified periods of time, or (in the case of claims 6 and 7 of the ’826

Patent) precluding titration altogether. Defendants reason that it “would be absurd” “to argue

that the prior art taught that MS patients would have to titrate doses of 4-AP for the rest of their

lives, and not settle on a stable dosing regimen, or that patients would take a stable dose for just

one week.” (Defs. Reply Br. at 29). Plaintiffs, though, make no such argument. Indeed,

defendants apparently misapprehend the concept of titration.

               Plaintiffs acknowledge that as to each particular patient, the ultimate objective of

even the individualized titration dosing schemes taught by the prior art was to arrive at a

maximally efficacious dose that could be safely tolerated by that patient over time. The patient




                                               - 22 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 28 of 41 PageID #: 8147



would then receive that individualized dose going forward. The beauty of the dosing regimen

claimed in the Acorda Patents is that there is no need to employ a titration process, starting low

so as to acclimate patients to the drug and ensure tolerability, while gradually increasing the

doses in an effort to maximize therapeutic benefit, in order to arrive at an optimal dose for each

individual patient. Acorda’s surprising discovery that the 10 mg BID dose achieved maximum

therapeutic benefit eliminated the need to titrate up to higher, more dangerous doses, in an effort

to achieve greater benefit with the attendant “peril of coming close to the toxic range.” (Tr.,

Goodman, 520:5-521:3; PF ¶ 174). The unexpected ability of the claimed dosing regimen to

provide and maintain maximum efficacy while reducing the risk of adverse effects, thus

constituted a difference in kind that made possible the use of a stable dose without individualized

titration, meaning an appropriate risk balance of safety and effectiveness could finally be

achieved.   See Allergan, Inc. v. Sandoz Inc., 796 F.3d 1293, 1306-07 (Fed. Cir. 2015)

(“unexpected maintenance of efficacy while reducing adverse effects constituted difference in

kind, “viz., the difference between an effective and safe drug and one with significant side

effects”); Ortho-McNeil Pharm., Inc. v. Mylan Labs., Inc., 348 F. Supp. 2d 713, 755 (N.D.W.

Va. 2004) aff’d, 161 Fed. App’x 944 (Fed. Cir. 2005) (claimed compound’s combination of

higher activity and lower toxicity would have been unexpected because “increased therapeutic

activity is normally accompanied by increased toxicity” posing “major impediment to successful

drug design”).

       B.        Failures by Others Further Support
                 the Nonobviousness of the Acorda Patents

                 Defendants seek to dodge the import of Elan’s failure to develop a therapy for

improving walking using sustained release 4-AP and Sanofi-Aventis’s failure to develop a

therapy for improving walking using a different potassium channel blocker by narrowly defining



                                              - 23 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 29 of 41 PageID #: 8148



the problem the Acorda Patents sought to solve as “an optimized dose for a prior art method.”

(Defs. Reply Br. at 43). Defendants thereby run afoul of the Federal Circuit’s admonition that an

“overly narrow statement of the problem” can represent a “prohibited reliance on hindsight.”

Insite Vision Inc. v. Sandoz, Inc., 783 F.3d 853, 859 (Fed. Cir. 2015). As discussed both above

and in plaintiffs’ Answering Brief, the work underlying the Acorda Patent claims was not merely

dose optimization. In fact, the problem addressed by the Acorda inventors was the need for a

safe and effective therapy to improve walking in MS patients. The inventors sought to develop

such a therapy by using a compound, the potassium channel blocking capabilities of which had

been shown to improve nerve conduction but had not been shown to improve walking (or any

clinical manifestation of MS). Their efforts resulted in the identification for the first time, of a

low, stable dose of sustained release 4-AP that could be used safely and effectively for a

prolonged period to improve walking in MS patients. 10

               The Acorda inventors were not the first to attempt to translate the potassium

channel blocking capacity of 4-AP into a symptomatic therapy that would improve walking in

MS patients. Elan, which had previously developed and patented a sustained release formulation


10
       Contrary to defendants’ contention (Defs. Reply Br. at 45, n. 7), it is not inconsistent to
       characterize the problem solved by the invention of the Acorda claims as “translating
       potassium channel blocking activity into a therapy to improve walking” and to define the
       invention of the Acorda patents as the “identification for the first time, of a low, stable
       dose of sustained release 4-AP that could be safely and efficaciously used for a prolonged
       period to improve walking in MS patients.” The claims define the inventors’ solution to
       the problem, they do not define the problem. Defendants’ mistake on this issue is also
       reflected by their incorrect suggestion that plaintiffs’ task is to produce evidence that
       “others tried but failed to practice the claimed invention.” (Defs. Reply Br. at 5). Rather,
       “[n]onobviousness is suggested by the failure of others to ‘find a solution to the problem
       which the patent[s] in question purport[ ] to solve.’” Symbol Techs., Inc. v. Opticon, Inc.,
       935 F.2d 1569, 1578 (Fed. Cir. 1991) (citation omitted) (emphasis added); see also In re
       Piasecki, 745 F.2d 1468, 1474 (Fed. Cir. 1984) (holding that “a failure of others to
       provide a feasible solution to [a] long-standing problem” is the relevant inquiry for
       nonobviousness).


                                               - 24 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 30 of 41 PageID #: 8149



of 4-AP, had conducted its large-scale, 161-patient, six-week, multicenter, double-blind, placebo

controlled, parallel groups study using sustained release 4-AP. The study evaluated the ability of

sustained release 4-AP to improve MS patient performance as measured by the widely accepted

EDSS, a large component of which is an assessment of walking ability. Unlike the small,

exploratory and/or methodological prior art studies relied on by defendants, the Elan study was

specifically designed and powered to assess efficacy. (Tr., Goodman, 468:1-24; PF ¶ 89).

However, as disclosed by the Schwid reference, the Elan study “was unable to establish clinical

efficacy”; 22% of patients improved on placebo and 22% improved on 4-AP. (JTX-0104 at 817;

Tr., Goodman, 468:25-469:17).

               Notwithstanding that the Elan study did not find that 4-AP yielded improvement

in MS patients, defendants implausibly try to cast Elan’s study as a success, because it “informed

investigators how to develop future, successful studies using other measurements.” (Defs. Reply

Br. at 44). As is clear from the scale and design of the study, however, it was not intended

merely to inform the development of future studies. Elan clearly aimed – but failed – to establish

clinical efficacy on its primary endpoint, which was a widely-used MS assessment tool that

emphasizes walking ability. Plainly, the primary takeaway was that 4-AP did not improve

walking in MS patients.

               Defendants’ characterization of the Elan study as simply having used the wrong

endpoint and thus advancing the field by prompting the search for alternatives is pure hindsight.

The only reason one knows that EDSS was the wrong endpoint is that the endpoint failed and

that another endpoint ultimately succeeded. It was the failure of the study – not its “success” –

that stimulated later methodological studies searching for other endpoints to salvage Elan’s

fruitless effort to develop a clinical therapy for MS patients. Indeed, the fact that Elan followed




                                              - 25 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 31 of 41 PageID #: 8150



its 161-patient study with its 10 patient Schwid study that measured seven endpoints reflects that

researchers were befuddled by the large-scale failure. And after the Schwid study Elan licensed

the ’938 Patent to Acorda. (PF ¶¶ 39, 88-89). As Dr. Goodman testified, the failure of the Elan

study had “cast a huge shadow on [the] whole field.” (Tr., Goodman, 513:24-514:24).

               Defendants’ refusal to acknowledge Sanofi-Aventis’ effort to develop the

compound Nerispirdine as a therapy to improve walking in MS patients as a failure to

accomplish precisely what the Acorda inventors accomplished misses the point. 11 The Sanofi-

Aventis researchers attempted to emulate what the Acorda inventors did, using the same

endpoint (timed 25 foot walk) and the exact statistical analysis developed and applied by Acorda

(the “responder analysis” based on consistency rather than magnitude of improvement) to show

that a different potassium channel blocking compound could provide a safe and effective therapy

to improve walking in MS patients. (PF ¶¶ 169-171). Unlike the Acorda inventors, however, the

Sanofi-Aventis researchers failed, and Ampyra remains the only therapy available to improve

walking in MS patients. Sanofi-Aventis’ failure clearly reflects the unpredictability of the field

and further supports the nonobviousness of the therapy claimed in the Acorda Patents.



11
       Defendants do not dispute that this Court may consider compounds other than 4-AP when
       analyzing the failure of others to find a solution to the problem. (See Pls. Br. at 93 (citing
       Knoll Pharm. Co. v. Teva Pharms. USA, Inc., 367 F.3d 1381, 1385 (Fed. Cir. 2004); Eli
       Lilly & Co. v. Sicor Pharm., Inc., 705 F. Supp. 2d 971, 1009 (S.D. Ind. 2010), aff’d, 424
       F. App’x 892 (Fed. Cir. 2011))). Defendants’ conclusory assertion that the relationship
       between the Acorda Patents and Nerispirdine is “far more tenuous” than in Knoll and Eli
       Lilly (Defs. Reply Br. at 45) is unfounded; those cases do not speak to all the differences
       between the patented claims and the other failed drugs. In Knoll, the Federal Circuit
       simply stated that the district court’s analysis failed to properly consider the failure of
       two opioid/NSAID combinations that were different from the patented opioid/NSAID
       combination. Knoll, 367 F.3d at 1385. In Eli Lilly, the court considered the failure of
       other nucleoside analogs as evidence of nonobviousness even though “[s]light structural
       modification[s] can drastically alter the biological activity of nucleoside analogs” and the
       field was considered “very unpredictable.” Eli Lilly, 705 F. Supp. 2d at 980, 1009.



                                               - 26 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 32 of 41 PageID #: 8151



                Defendants attempt to obscure this fundamental reality by pointing to irrelevant

differences between the work by Acorda and the work by Sanofi-Aventis, which defendants

themselves elsewhere characterize as immaterial to the contribution of the Acorda inventors.

Defendants note, for example, that Sanofi-Aventis used an immediate release rather than a

sustained release formulation (Defs. Reply Br. at 45), while elsewhere emphasizing that the

sustained release formulations of the Acorda patent claims were not Acorda’s invention. (Defs.

Reply Br. at 30). Similarly, defendants decry the lack of information about Nerispirdine’s

pharmacokinetics (Defs. Reply Br at 45), while contending that the Acorda inventors “did not

invent or otherwise discover any of the pharmacokinetic profiles claimed in the patent.” (Defs.

Reply Br. at 30). 12

        C.      The Long Felt Need for the Inventions of the Acorda
                Patents Further Demonstrates They Were Not Obvious

                Defendants try to but cannot escape the fact that the FDA’s grant of priority

review for Ampyra demonstrates that there was a long-felt and unmet need for treatment of


12
        While defendants argue that the claimed pharmacokinetic values cannot support the
        Asserted Claims (Defs. Reply Br. at 30), they put forward no prior art that associated the
        recited pharmacokinetic parameters with safely and efficaciously improving walking or
        increasing walking speed. The Hayes references relied on by defendants merely report
        that one particular sustained release formulation of 4-AP when administered at 10 mg
        BID achieve the recited pharmacokinetic parameters. The Hayes references say nothing
        about the efficacy of those pharmacokinetic parameters for improving walking or
        increasing walking speed in MS patients and do not establish the safety of those
        pharmacokinetic parameters in MS patients. (PF ¶¶ 111-112; Tr., Goodman, 509:18-
        510:13). Nor have defendants shown that the recited pharmacokinetic parameters are
        inherent in every 10 mg BID administration of sustained release 4-AP (i.e., that every
        sustained release formulation of 4-AP administered at 10 mg BID will necessarily
        achieve the recited pharmacokinetic parameters). Neither Dr. Kibbe’s testimony, nor
        plaintiffs’ “concession” at closing argument that “[i]t was known in the art that a
        sustained release formulation 10 [milligrams] BID could achieve [the claimed] PK”
        (Defs. Reply Br. at 30 (emphasis added)) establishes the inherency of the recited
        pharmacokinetic parameters. Allergan, Inc. v. Sandoz Inc., 726 F.3d 1286, 1294 n.1
        (Fed. Cir. 2013).


                                              - 27 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 33 of 41 PageID #: 8152



impaired walking. See Ferring B.V. v. Watson Labs., Inc.-Fla., 764 F.3d 1401, 1407 (Fed. Cir.

2014) (FDA’s grant of “fast track” review under 21 U.S.C. § 356(b)(1) recognized long-felt and

unmet need for treatment of menorrhagia that avoided adverse events).

               Defendants seek to trivialize the contribution of the Acorda inventors,

acknowledging that “there may be a long-felt but unmet need to address symptoms caused by

MS,” but asserting that Ampyra falls short of satisfying that need because it fails to address

every MS symptom in every MS patient and fails to restore to “normal” even the symptom it

addresses. (Defs. Reply Br. at 41-42). The Court’s analysis, however, “must consider whether

the claimed invention represents an improvement from the prior art at the time, not whether the

problem has been totally eliminated.” See Vanda Pharm., 2016 WL 4490701 at *10 (rejecting

argument that claimed method of treating schizophrenia did not satisfy long-felt need because

schizophrenia continues to be difficult to treat)

               The fact is that walking impairment is one of the most prevalent and most

devastating symptoms experienced by MS patients and Ampyra was the first – and remains the

only – therapy available to MS patients to address that symptom. Ampyra thereby helps improve

independence, employment opportunity, and ultimately quality of life. (PF ¶¶ 165-66). It is

unfortunate that Ampyra works only in a subset (approximately one third) of patients, but

defendants do not (and cannot) demonstrate that efficacy in only a portion of a patient population

is unusual for a pharmaceutical. Ampyra does significantly improve the lives of those patients

who respond to 4-AP.        (Tr., Goodman, 517:7-22, 538:13-17).        In this respect, Ampyra

“absolutely” does satisfy a long-felt and unmet need. (Tr., Goodman, 537:25-538:12).

               Defendants also denigrate Ampyra because, unlike disease-modifying drugs, it

does not stop or slow the progression of MS. (Defs. Reply Br. at 42). But those drugs, unlike




                                                - 28 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 34 of 41 PageID #: 8153



Ampyra, do not relieve the functional problems caused by the disease, such as impaired walking,

and thus fail to offer the quality of life benefit provided by Ampyra.

               The fact that Ampyra meets patients’ need for a therapy that addresses walking

impairment is reflected in the high level of satisfaction reported by prescribers and patients and

by the fact that the majority of Ampyra’s revenues are accounted for by persistent (continuing)

patients on therapy. (PF ¶ 160).

               Defendants assert that the ’938 Patent diminishes the significance of the long

period between 4-AP’s discovery a century ago and its approval for any therapeutic use. (Defs.

Reply Br. at 43). The ’938 Patent, however, did not issue until 1996, and research prior to that

date had not made the compound available as a therapy for any clinical manifestation of MS.

Defendants also fail to address the fact that the ’938 patent did not impede development of an

immediate release form to 4-AP and did not “block” the development of 4-AP outside the U.S.

               Finally, defendants’ efforts to obtain FDA-approval of their generic versions of

Ampyra are further proof that the product is effective and desirable.

       D.      Ampyra Has Been a Commercial Success
               Because of the Inventions of the Patents-in-Suit

               Dr. Bell’s testimony that 4-AP sales in the U.S. alone totaled $1.7 billion from

launch in 2010 through the end of 2015, that Acorda’s net income therefrom was $998.7 million,

that sales to repeat users on persistent therapy account for most sales of Ampyra, and that sales

of Ampyra are attributable to market demand rather than aggressive marketing or low prices

stands unrefuted. (PF ¶¶ 157-161). Dr. Cohen added that 2016 sales of Ampyra were projected

to be close to $500 million. (Tr., Cohen, 301:12-14). See Eli Lilly and Co. v. Teva Pharm. USA,

Inc., No. IP 02-0512-C-B/S, 2004 WL 1724632, at *36 (S.D. Ind. July 29, 2004), aff’d 2005 WL

163526 (Fed. Cir. July 13, 2005) (“Lilly has satisfied its burden by offering evidence that



                                               - 29 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 35 of 41 PageID #: 8154



Sarafem, its product covered by . . . the . . . patent, had sales of $176.2 million from August 2000

to December 2002 and was the most prescribed product for the treatment of severe PMS during

that time.”)

               It is also self-evident that, as Dr. Bell explained, Ampyra owes its success to the

inventions of the patents-in-suit. (PF ¶ 159). It is undisputed that Ampyra is an embodiment of

the Asserted Claims and that the sustained release formulation and 10 mg BID dosing regimen to

improve walking in MS patients, which is reflected both in the Asserted Claims and in Ampyra’s

FDA-approved label, are directly responsible for Ampyra’s commercial success. (Id.). Indeed,

4-AP was long-known, but was never approved by the FDA in any dose for any purpose before

the claimed inventions.

               Dr. McDuff’s testimony (Tr., McDuff, 631:23-634:2, 665:7-21) that the sales of

Ampyra were average for a pharmaceutical product and were lower than the sales of drugs

which, unlike Ampyra, are disease modifying treatments for MS, rather than treatments to

improve walking, do not change the fact that Ampyra was successful enough to present an

economic opportunity that would have motivated pharmaceutical companies to develop the

inventions of the Asserted Claims if they were obvious as defendants maintain. (Tr., Bell, 593:2-

594:5). 13

               Defendants’ mention of the fact that Acorda had originally hoped to develop 4-AP

as a treatment for spinal cord injuries and for MS generally (Defs. Reply Br. at 39), merely

highlights the unpredictability and complexity of treating CNS disorders and the difficulty of

establishing the efficacy and safety of 4-AP. Moreover, those potential uses for 4-AP would

have been outside the scope of the Asserted Claims which are limited to the FDA-approved use
13
        Evidently, the prospect of average sales regularly motivates pharmaceutical companies to
        develop products.


                                               - 30 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 36 of 41 PageID #: 8155



of Ampyra to treat walking in MS patients when dosed twice daily in 10 mg sustained release

tablets. 14

                As a practical matter, defendants’ argument depends entirely on Dr. McDuff’s

novel theory that in order for a pharmaceutical product to be a commercial success for purposes

of a secondary considerations analysis, the return on the product must exceed the hypothetical

“economic cost” of product development that includes an outsized allocation for the failures

generally of many potential pharmaceutical products during development. (PF ¶ 162). Based on

published data regarding the average cost of clinical trials ($172.7 million) and the low success

rate of products during development (about 11%), Dr. McDuff estimated that the total economic

cost of developing Ampyra would have been $2.564 billion.            (Tr., McDuff, 640:22-641:7,

669:11-671:14, 676:4-677:20).       Dr. McDuff arrived at that number by multiplying the

approximate average out-of-pocket clinical trial costs for a drug candidate by a factor reflecting

the industry-wide likelihood of failure. (Tr., McDuff, 676:4-677:20). Dr. McDuff posited that

Ampyra was not a commercial success because it would have to bear a share of the costs of the

88% of failures that the industry experiences; however, its revenues are below that amount.

(Tr., McDuff, 642:12-18, 677:15-20; PF ¶ 162). Dr. McDuff relies, though, on publications that

address the industry-wide cost of drug development, not the commercial success of particular

products in the context of nonobviousness. (See, e.g., JTX-0044). Clearly, while companies use

revenues from marketed products to pay for development of other products, the commercial

success or failure of a particular product is judged against its own costs, not those of the rest of

the pipeline.


14
        The fact that Acorda licensed the ’938 Patent “is also evidence of a belief that the . . .
        patent was valid.” Cadence Pharm. Inc. v. Exela Pharmsci Inc., 780 F.3d 1364, 1376
        (Fed. Cir. 2015).


                                               - 31 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 37 of 41 PageID #: 8156



               Defendants cite no case law that supports Dr. McDuff’s theory. Their citation to

Merck Sharp & Dohme B.V. v. Warner Chilcott Co., No. 13-2088-GMS, 2016 WL 4497054 (D.

Del. Aug. 26, 2016), is mystifying. There, the court made no mention of Dr. McDuff’s theory

that the NuvaRing product at issue was not a commercial success in light of the industry-wide

costs of failures unrelated to NuvaRing. (See Tr., McDuff, 657:7-10). The Merck court “did not

find [the patentee’s expert’s] testimony reliable” and cited Dr. McDuff only with respect to

NuvaRing being “not the top pharmaceutical contraceptive, but the fifth.” Merck, 2016 WL

4497054, at *13. On that basis, the court found that Merck had “established at most a modest

level of commercial success for NuvaRing.” Id. Here, by contrast, Ampyra is the first and only

drug approved to improve walking in MS patients.

               The nexus between the inventions of the Asserted Claims and the commercial

success of Ampyra is undeniable. 4-AP was known for a century but was not approved by the

FDA for any purpose until the inventions of the patents-in-suit. Contrary to defendants’ empty

assertion of a “complete failure of proof” as to the nexus (Defs. Reply Br. at 19), Dr. Bell

testified that Ampyra embodies the 10 mg BID administration of sustained release 4-AP that is

the subject of the Asserted Claims of the patents-in-suit; that the claimed dosing regimen was the

predicate for the clinical trials which achieved FDA approval; that the claimed dosing regimen is

the FDA-approved regimen that appears in the Ampyra labeling; and that Acorda advertises

Ampyra based on the patented attribute of improving walking.          (Tr., Bell, 577:25-578:13,

584:10-585:8; 588:10-589:10; PF ¶ 159). Simply put, Ampyra and the Asserted Claims are

essentially indistinguishable.

               There is manifestly no merit to defendants’ argument that 15 mg or 20 mg tablets

of sustained release 4-AP “would be just as clinically effective as a 10 mg product, and sales




                                              - 32 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 38 of 41 PageID #: 8157



essentially would be unchanged.” (Defs. Reply Br. at 41). Given the recognized toxicity of 4-

AP, patients would not be well advised to take doses of 4-AP that are 50% to 100% higher but

offer no increased benefit. As shown in plaintiffs’ Answering Brief, the Ampyra label discloses

that in open label extension trials the incidence of seizures in patients dosed with 15 mg of 4-AP

BID “was over 4 times higher” than in patients dosed with 10 mg BID.               (JTX-0076 at

AMPDEL0170808; Pls. Br. at 40, n.27). Indeed, the label expressly warns patients not to take

even a single extra dose of Ampyra.

               Dr. Peroutka’s attribution of “50 to 80 percent” of Ampyra’s commercial success

to 4-AP (Tr., Peroutka, 707:1-8) is meaningless. Dr. Peroutka simply plucks the numbers out of

thin air. While it is self-evident that the compound 4-AP is important to the success of Ampyra,

the fact is that 4-AP was known for a century before Acorda made Ampyra.              It was the

inventions of the patents-in-suit that, in combination, turned 4-AP into an FDA-approved

product. Accordingly, the inventions and 4-AP all contribute to the success of Ampyra.

               Defendants’ argument that the ’938 Patent was a blocking patent vis-a-vis the

Acorda Patents has no bearing on the fact that Ampyra’s commercial success supports the

nonobviousness of the ’938 Patent itself. Nor do defendants counter plaintiffs’ argument that the

’938 Patent was not an obstacle to the development work that was being conducted abroad

before the failure of the large Elan efficacy study, yet the record is devoid of such work

continuing after that study. In any event, even as to the Acorda Patents, the alleged blocking

effect of the ’938 Patent at most weakens the inference from the commercial success of Ampyra

that the Acorda Patents were not obvious. (See Defs. Reply Br. at 37).

                                        CONCLUSION

               Based on the foregoing and the record in this case, this Court should rule that

defendants have failed to meet their burden of proving by clear and convincing evidence that any


                                              - 33 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 39 of 41 PageID #: 8158



of the Asserted Claims of the patents-in-suit are invalid on obviousness grounds. The Court

should, therefore, enter judgment in favor of plaintiffs.

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                                               - 34 -
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 40 of 41 PageID #: 8159



                                CERTIFICATE OF SERVICE

       I hereby certify that on November 10, 2016, I caused the foregoing to be electronically

filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

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                                              -1-
Case 1:14-cv-00882-LPS Document 274 Filed 11/10/16 Page 41 of 41 PageID #: 8160



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